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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Trustees Of The New York City District
Council Of Carpenters Pension Fund,
Welfare Fund, Annuity Fund, and
Apprenticeship, Journeyman Retraining,
Educational and Industry Fund et al.,
                                                                       No. 20CV7119-LTS-RWL
                                    Petitioner(s),

                 -against-                                             ORDER

1st Choice Construction LLC,

                                    Respondent(s).


LAURA TAYLOR SWAIN, DISTRICT JUDGE:

A petition to confirm an arbitration award having been filed with the Court pursuant to 9 U.S.C. § 9, it is hereby

1.      ORDERED that counsel1 for Petitioner(s) must serve a copy of this Initial Conference Order
        within fourteen (14) calendar days following the date of this order, on each Respondent that has
        already been served with the summons and complaint, that a copy of this Initial Conference Order
        must be served with any subsequent process that brings in additional parties, and that proof of
        such service must be filed promptly with the Court. It is further

2.      ORDERED that Petitioner(s) must file promptly with the Court proof of service of the subject petition.
        It is further

3.      ORDERED, that in the event Respondent(s) fail(s) to file and serve a timely response to the petition and
        does not consent affirmatively to grant of the relief sought therein, Petitioner must promptly serve on
        Respondent(s) and file with the Court, with a courtesy copy provided to chambers of the undersigned,
        a written application for confirmation and entry of judgment on the award. Such application must
        include:

        a.       An affidavit confirming that the petition was timely filed and that the award that is the subject
                 of the application has not been vacated or modified and that no application for such relief is
                 currently pending; and

        b.       The papers enumerated in 9 U.S.C. § 13.

        Petitioner must promptly file proof of service of the application. It is further

4.      ORDERED that any response(s) to such application must be served and filed in accordance with Local
        Civil Rule 6.1(b). It is further


        1
                 As used in this Order, the term “counsel” means, in the case of an individual party who is proceeding
                 Pro-se, such party.

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5.     ORDERED that, in the event Respondent serves and files opposition to the petition, or Petitioner fails
       to file and serve the application described above, a conference shall be held in the above-captioned
       matter on December 4, 2020 at 11:00 a.m. in Courtroom No. 17C2, 500 Pearl Street, New York,
       New York 10007. It is further

6.     ORDERED that counsel for the parties confer preliminarily at least fourteen (14) days prior to the date
       set forth in paragraph 5 above to discuss the following matters:

       a.       Contested and uncontested legal issues;
       b.       Consensual resolution of all or some of the contested issues;
       c.       Whether each party consents to resolution of this matter by a magistrate judge; and
       d.       Any anticipated further submissions and a proposed timetable therefor.
       e.       Settlement.

       It is further

7.     ORDERED that counsel must be prepared to discuss the foregoing at the conference, as well as whether
       mediation may be helpful in resolving this case. It is further

8.     ORDERED that counsel attending the conference must seek settlement authority from their respective
       clients prior to such conference. If counsel is not granted such authority, the client must be present in
       person or available by telephone so that a settlement can be consummated if possible. "Settlement
       authority,” as used herein, includes the power to enter into stipulations and make admissions regarding
       all matters that the participants may reasonably anticipate discussing at the conference including, but
       not limited to, the matters enumerated in the preceding paragraphs.

9.     In the event that any party fails to comply with this Order, the Court may impose sanctions or take other
       action as appropriate. Such sanctions and action may include assessing costs and attorneys’ fees,
       denying the petition, and/or the imposition of other appropriate penalties.

10.    This case has been designated an electronic case. Counsel for all parties are required to register as filing
       users in accordance with the Procedures for Electronic Case Filing promptly upon appearing in the case.


       IT IS SO ORDERED.


Dated: New York, New York
       October 15, 2020

                                                                /s/ Laura Taylor Swain
                                                             LAURA TAYLOR SWAIN
                                                             United States District Judge




       2
                On the day of the conference, check the electronic board in the lobby to be certain of the proper
                courtroom.
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